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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WISCONSIN

DEBORAH LAUFER,

       Plaintiff,
v.                                                             Case No. 3:20-cv-680-WMC

MICHAEL S. RASMUS,

      Defendant.
______________________________/

         PLAINTIFF’S MEMORANDUM IN OPPOSITION TO DEFENDANT’S
                          MOTION TO DISMISS

       Plaintiff, Deborah Laufer, by and through undersigned counsel, hereby files this

Memorandum In Opposition To Defendant’s Motion To Dismiss.

I.     Plaintiff Incorporates By Reference Her Prior Memorandum

       On September 14, 2020, at DE 6, Plaintiff filed her Memorandum In Response to the Order

of this Court (“Standing Memorandum”) requiring that she do so to explain her basis for standing.

For the reasons and authorities set forth in that Memorandum, incorporated herein by reference as

if set forth fully hereunder, Plaintiff submits that she has standing.

II.    Additional Arguments Advanced By Defendant Are Unavailing

       A.      Harty v. West Point

       Defendant cites Harty v. West Point Realty, Inc., 7:19-cv-8800-VB, DE 29 (S.D. N.Y.

8/7/20). This case was appealed to the United States Court Of Appeals For The Second Circuit, No.

20-2672. The briefs have not yet been submitted in that case. Plaintiff submits that the Harty

decision is based on reversible error for several reasons.

       First, the Harty court refused to consider Harty’s affidavit and therefore ignored the evidence


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submitted by the plaintiff that he intended to visit the area and needed to stay in hotels. Id. at 8-9.

By contrast, this Court can consider Laufer’s affidavit on the same point. Additionally, the court

acknowledged that the plaintiff had pled that he intended to revisit the hotel’s ORS to test it for

compliance “and/or to utilize the website to reserve a guest room and otherwise avail himself of the

... accommodations of the Property.” Id. p. 7. Despite this acknowledgment, the court then stated

that: “The complaint’s allegations, taken as true, suggest only that plaintiff intends to return to the

online reservation systems to test for statutory violations of the ADA visà-vis 28 C.F.R. §

36.302(e)(1).” Id. at 7. Thus, the Harty court refused to consider evidence and ignored the allegation

that Harty intended to stay in area hotels. This stands in stark contrast to the present instance, where

Laufer submitted an affidavit indicating her visits to New York and stay in hotels. DE 14-1, par. 5.

         The Harty court also committed reversible error when it held that the allegations did not

show the plaintiff’s “plausible intention or desire to return” to the websites but for the barriers to

access. Id. at 7. In this regard, the court made an improper credibility determination, in violation of

the standards discussed in Dorchester Fin. Sec, Inc. v. Banco BRJ, S.A., 722 F.3d 81, 87 (2nd Cir.

2013)(where the jurisdictional disputed is interwoven with the underlying merits, the court must

apply the standards of Rule 56 or 12(b)(6) and cannot make a credibility determination.) Moreover,

in contrast to the Harty case, Laufer presented an affidavit which explained her system of

maintaining a list of all hotels she has sued, marking the dates she visits the ORS of each, then

revisits the same shortly after the case is filed, and again when the time arrives for the hotel’s ORS

to be required to be compliant. DE 14-1, at para. 8. Under Parks v. Richard, 2020 U.S. Dist. Lexis

86790, at *7 (M.D. Fla. 2020), such a system of rechecking suffices to establish standing on this

point.


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        The Harty court also held that plaintiff failed to “set forth any allegations suggesting

[Harty’s] ability to” visit the websites. Id. at 7-8. In this regard, the court demonstrated a complete

misunderstanding of the nature of ORS discrimination. This was not a claim based on compatibility

with screen reader software, where a vision impaired individual thus has difficulty in reviewing a

commercial website. By contrast, an ORS case involves the failure of a hotel to provide the

information that is required by the Regulation. The ability to navigate the ORS is not relevant.

        Moreover, the Harty Court’s reasoning is flawed in light of the plain language of the Statute

and Regulation and the weight of authorities cited in Plaintiff’s Standing Memorandum. The Harty

Court failed to properly apply Supreme Court authorities or the rules of statutory construction.

        B.     Judge Sannes Orders

        Defendant cites Laufer v. Laxmi & Sons, LLC and several other cases in which Judge Sannes

of the Northern District of New York issued orders requiring that Plaintiff file a memorandum to

explain her standing to sue. However Judge Sannes issued no ruling that Laufer lacks standing, but

merely ordered Laufer to file a memorandum on the subject.

        C.     The Defendant Is Governed By The ADA

        Defendant frivolously argues that the ADA does not apply to its hotel because it was

constructed prior to the ADA’s effective date. Based on this disingenuous argument, Defendant then

argues that Plaintiff’s action is so lacking in merit that Defendant should be awarded its attorney

fees.

        Despite making this argument, Defendant also acknowledged that the ADA DOES INDEED

APPLY to its hotel, citing the barrier removal requirement set forth in 42 U.S.C. Section

12182(b)(2)(A)(iv), but then claims that the ADA doesn’t apply because it never engaged in any


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barrier removal. Accordingly, Defendant’s argument that the ADA does not apply to its hotel is

completely frivolous and deliberately misleading.

       Indeed, 42 U.S.C. Section 12182(b)(2)(A)(iv) expressly requires that places of public

accommodation built prior to the ADA’s effective date remove barriers to the extent they are readily

achievable. A barrier has been defined as a feature that fails to comply with the applicable standards,

(either the 1991 ADA Standards or 2010 ADA Standards). Chapman v. Pier I Imports, Inc., 631 F.3d

939, 948 n.5 (9th Cir. 2011). The Department of Justice, charged with promulgating the regulations,

published the Technical Assistance Manual (www.ada.gov/taman3) which provides, at Section III-

4.4400, that the obligation to engage in readily achievable barrier removal is a continuing one. Over

time, barrier removal that initially was not readily achievable may later be required because of

changed circumstances.

       At 28 CFR 36.304, the DOJ provides a non-exclusive list of barriers to be removed.

       (1) Installing ramps; (2) Making curb cuts in sidewalks and entrances; (3) Repositioning
       shelves; (4) Rearranging tables, chairs, vending machines, display racks, and other furniture;
       (8) Widening doors; (9) Installing offset hinges to widen doorways; (11) Installing accessible
       door hardware; (12) Installing grab bars in toilet stalls; (13) Rearranging toilet partitions to
       increase maneuvering space; (14) Insulating lavatory pipes under sinks to prevent burns; (15)
       Installing a raised toilet seat; (16) Installing a full-length bathroom mirror; (17)
       Repositioning the paper towel dispenser in a bathroom; (18) Creating designated accessible
       parking spaces.

       This regulation further sets forth priorities for barrier removal:

       A public accommodation is urged to take measures to comply with the barrier removal
       requirements of this section in accordance with the following order of priorities.
       (1) First, a public accommodation should take measures to provide access to a place of public
       accommodation from public sidewalks, parking, or public transportation. These measures
       include, for example, installing an entrance ramp, widening entrances, and providing
       accessible parking spaces.
       (2) Second, a public accommodation should take measures to provide access to those areas
       of a place of public accommodation where goods and services are made available to the


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        public. These measures include, for example, adjusting the layout of display racks,
        rearranging tables, ... widening doors, ... and installing ramps.
        (3) Third, a public accommodation should take measures to provide access to restroom
        facilities. These measures include, for example, removal of obstructing furniture or vending
        machines, widening of doors, installation of ramps, providing accessible signage, widening
        of toilet stalls, and installation of grab bars.
        (4) Fourth, a public accommodation should take any other measures necessary to provide
        access to the goods, services, facilities, privileges, advantages, or accommodations of a place
        of public accommodation.

28 CFR 36.304( c). 42 U.S.C. Section 12183(b) requires that all altered portions of a facility be

“readily accessible to and usable by disabled persons” “to the maximum extent feasible”. The

regulations explain that such barrier removal measures or alterations must comply with the ADAAGs

to the maximum extent feasible. See 28 C.F.R. 36.304(d), 28 C.F.R. 36.402; 28 C.F.R. 36.306.1 This

means that the alteration must fully comply with the ADAAG unless it is literal compliance is

“virtually impossible”. 28 C.F.R. Section 36.402( c).

        Thus, the ADA applies to the physical conditions at Defendant’s hotel even though it was

constructed prior to the effective date. Defendant brazenly admits in its brief and Affidavit that it has

made no effort whatsoever to comply with its barrier removal obligations and, thus, intentionally

discriminates against disabled persons.

        Defendant’s obligations to comply with the Regulation are completely separate and apart

from its obligations to have brought the physical conditions of its hotel into compliance with the

barrier removal requirements. In this regard, the Department of Justices published a guideline

pursuant to the Regulation governing hotel reservations services, Attached hereto as Exhibit A. In



        1
        28 C.F.R. Part 36.304(d) provides that barrier removal measures shall comply with the
requirements applicable to alterations under parts 36.402 and 36.404 through 36.306. 28 C.F.R.
Part 36.306 provides that alterations must comply with either the ADAAGs or 2010 ADA Stds.,
depending on the date the alteration was implemented.

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this regard, the DOJ states:

               For older hotels with limited accessibility features, information about the hotel should
       include, at a minimum, information about accessible entrances to the hotel, the path of travel
       to guest check-in and other essential services, and the accessible route to the accessible room
       or rooms. In addition to the room information described above [pertaining to compliant
       rooms], these hotels should provide information about important features that do not
       comply with the 1991 Standards. For example, if the door to the “accessible room or
       bathroom is narrower than required, this inform should be included (e.c. door to guest room
       measures 30 inches clear). This width may not meet current standards but may be adequate
       for some wheelchair users who use narrower chairs. In many cases, older hotels provide
       services through alternatives to barrier removal, for example, by providing check-in or
       concierge servises at a different, accessible location.

Id. at p. 78 (emphasis added). In other words, Defendant’s ORS is required to identify all features

that are required to be in compliance with the applicable standards for accessible design and describe

how they are not in compliance. For example, Defendant represents that none of its rooms are

“completely” ADA compliant, but fails to clarify whether this means that some are partially

compliant or completely non-compliant. In any event, its ORS must provide information on this

issue, indicating either that there are no accessible rooms or what features comply with the standards

and what features do not. It must also indicate whether or not it has handicap parking spaces,

compliant check-in counter, compliant common area restroom and whether or not any other features

of the hotel are compliant.

       D.      Defendant Is Not Entitled To Attorneys Fees

       Defendant argues that it is entitled to its attorney fees pursuant to 42 U.S.C. Section 12205

because Plaintiff’s lawsuit is frivolous. Defendant makes two arguments in support of its claim for

entitlement to fees. First, Defendant asserts that its hotel is not governed by the ADA because they

never made any attempt to comply with it since it was enacted 30 years ago. For the reasons set forth

above, this argument is itself completely frivolous.


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       Defendant’s second argument is that Plaintiff’s action is frivolous because she lacks standing.

However, for the reasons set forth in Plaintiff’s Standing Memorandum, the plain language of the

Statute and Regulation, as well as the ample case law cited therein, establish that Plaintiff has

standing and has suffered actionable injury-in-fact.

       Even if this Court grants dismissal based on jurisdictional grounds, the requirements for such

an award under 42 U.S.C. Section 12205 have not been met.

       First, this Section only provides for an award of fees to the “prevailing party”. First, the

Supreme Court had defined “prevailing party” in civil rights contexts in Buckhannon Bd. & Care

Home, Inc. v. West Virginia Dep’t of Health & Human Resources, 532 U.S. 598, 603-04 (2002).

This requires that such a party had obtained either an enforceable judgment or court ordered consent

decree. Id. Courts have held that dismissal for lack of standing to sue fails to meet this threshold

requirement. See Access 4 All, Inc. v. Partners Of Kings Point, Ltd., 10-80779, DE 91 (S.D. Fla.

3/8/2012), Exhibit B attached hereto, (dismissal for lack of standing does not make defendant

“prevailing party”): National Alliance For Accessibility, Inc. And Denise Payne v. Bhuna Corp.,

Case No. 1:11-cv-79, DE 34 (W.D. N.C. April 10, 2012), Exhibit C attached hereto (same); Jeffrey

Joel Judy v. Pingue, Case No. 2:08-cv-859, DE 42, p. 9 fn. 1 (S.D. Oh. Nov. 25, 2009), Exhibit D

attached hereto (denying fees to defendant after dismissing case for lack of standing).

       Under Fed. R. Civ. P. 41(b), a dismissal for lack of jurisdiction is NOT an adjudication on

the merits.

       Even if Defendant were found to be the “prevailing party” it still is not entitled to fees. In

Christiansburg Garment Co. v. EEOC, 434 U.S. 412, 421 (1978), the Supreme Court held that for

a plaintiff to be liable under this Section, his or her action must have been "'unfounded, meritless,


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frivolous or vexatiously brought[]'", or “where the action brought is found to be unreasonable,

frivolous, meritless or vexatious." The Court stated that:

       In applying these criteria, it is important that a district court resist the understandable
       temptation to engage in post hoc reasoning by concluding that, because a plaintiff did not
       ultimately prevail, his action must have been unreasonable or without foundation. This kind
       of hindsight logic could discourage all but the most airtight claims, for seldom can a
       prospective plaintiff be sure of ultimate success. No matter how honest one's belief that he
       has been the victim of discrimination, no matter how meritorious one's claim may appear at
       the outset, the course of litigation is rarely predictable. Decisive facts may not emerge until
       discovery or trial. The law may change or clarify in the midst of litigation. Even when the
       law or the facts appear questionable or unfavorable at the outset, a party may have an entirely
       reasonable ground for bringing suit.

Id. at 421-22. See also Adkins v. Briggs & Stratton Corp., 159 F.3d 306, 307 (7th Cir. 1998).

       As stated above and as referenced in Plaintiff’s Standing Memorandum, Plaintiff has ample

statutory, regulatory and case law in support of her standing. Therefore, even if this Court disagrees,

Plaintiff’s claims are not unfounded, meritless, frivolous, unreasonable or vexatious as required by

Christiansburg.

       E.      Defendant’s Attempt To Distinguish Havens Realty Is Meritless

       Defendant speciously argues that Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982), is

inapposite because this Defendant is not required to comply with the ADA. For the reasons set forth

above, Defendant’s argument is completely lacking in merit and, therefore, Havens Realty is directly

on point.

       F.      Defendant’s Reference To Judge Sannes’ Orders are unavailing

       At p. 14 of its Brief, Defendant references several orders issued by Judge Sannes, from the

Northern District Of New York. However, in those cases, Judge Sannes did nothing more than order

Plaintiff to file briefs explaining her standing to sue. Despite the briefing been filed several months



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ago, the court has yet to issue any dispositive ruling.

           G.     Defendant’s Argument That Plaintiff Should Have Telephoned Hotel Is Legally
                  Flawed

           Defendant argues that Plaintiff could have obtained the information by other means,

specifically by telephone. This argument has been previously made and rejected.

           In Poschman v. Coral Reef Of Key Biscayne Developers, Inc., 2018 U.S. Dist. Lexis 87457

(S.D. Fla. 5/22/18), one Court in this District rejected an identical argument. There, the defendant

had argued that the disabled plaintiff could have called the hotel by telephone or by emailing the

hotel through information on its “Contact Us” tab on the website. The Court rejected this argument,

stating:

           The relevant regulation provides that a reservation for an accessible guest room must be able
           to be made "during the same hours and in the same manner as individuals who do not need
           accessible rooms." § 36.302(e)(1)(i). Guidance published by the DOJ on the regulation
           further clarifies its meaning. See Thomas Jefferson Univ. v. Shalala, 512 U.S. 504, 512, 114
           S. Ct. 2381, 129 L. Ed. 2d 405 (1994) (giving "substantial deference" and "controlling
           weight" to an agency's interpretation of its own regulations). The guidance provides that
           "basic nondiscrimination principles mandate that individuals with disabilities should be able
           to reserve hotel rooms with the same efficiency, immediacy, and convenience as those who
           do not need accessible guest rooms. 28 C.F.R. Pt. 36, App. A, Guidance on Revisions to
           ADA Regulation on Nondiscrimination on the Basis of Disability by Public
           Accommodations and Commercial Facilities (Mar. 15, 2011) (hereinafter "DOJ Guidance")
           (emphasis added) (rejecting comments by hotels to change language to "in a substantially
           similar manner" from "in the same manner"). Irrespective of whether individuals seeking to
           make reservations can do so by telephone or by email, it is readily apparent that individuals
           seeking to reserve accessible hotel rooms cannot do so on the Website in the same manner
           — with the same efficiency, immediacy, and convenience — as those seeking to reserve
           non-accessible guest rooms. § 36.302(e)(1)(I).

2018 U.S. Dist. Lexis 87457 at **10-11. See also Juscinska v. Paper Factory Hotel, LLC, 2019 U.S.

Dist. Lexis 92550 **9-10 (S.D.N.Y. 2019)(ability to telephone or email hotel is not “same manner”

and therefore not a viable defense).



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        H.      Defendant’s Reference To Venue Lacks Merit

        Although Defendant presents no authorities on the issue, it makes a vague challenge to the

propriety of Plaintiff having filed her action in this District, where the Defendant’s hotel is located.

28 U.S.C. Section 1391(b)(2) provides that venue is proper in a judicial district “in which a

substantial part of the events or omissions giving rise to the claim occurred, or a substantial part of

property that is the subject of the action is situated...” In Poschmann v. Ponte Vedre Corp., 2018 U.S.

Dist. Lexis 217469 (S.D. Fla. 2018), one court held that venue was only proper in the district where

the hotel is located.

III.    Conclusion

        For the reasons set forth above in addition to Plaintiff’s Standing Memorandum, Defendant’s

Motion To Dismiss should be denied.

                                                Respectfully submitted,

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                                                    Kathy L. Houston, Esq.




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